Case 2:17-cv-01077-RSL Document 50 Filed 12/11/17 Page 1 of 3

 

rim )_\.,,

 

 

 

 

 

LDGEB “~'
W;._\,£B MA"' a announce seven s. mann
DEC 1 12017

ULERK liia. .)i$l`RlGT CDURT
WESTER|| IJ|S`lRlCT BF WASH| GT|||
B¥ DEWH

UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRICT OF WASH|NGTON AT SEATTLE

 

 

Defendant , Civil Action No. 17-cv-1077li$l.
Jeremy Reeves
" Defendants initial Disciosures
ME2 PRCDUCTlONS, lNC `
Plaintiff
V.

ROBERT KARlUK|;

GARV VONER|CHSEN;

.lOSEPH DELACRUZ;

JCSUAH HANCOCK; ' l
*JEREMY REEVES; and ?

PHYL|S KlHUYU,
Defendants

l don’t know who if anyone downloaded the movie as David Lowe alieges. i don't know who wodd
have information for him. l asked friends who routinely visit me, none of them said they did it or know
who did. if anyone l know did this it’s not because l gave them permission or knew about it. l would ask
a few of me neighbors ana kids in the neighborhood mai i gave my win intimation ia a longtime ago
but l don’t think l really have a right to probe them for information on their computer activities and l 1
don't want to damage my future relationships with them. Some parents might get really pissed off at me
if l start interrogating their children. i have since changed my password and have stopped sharing my
will with anyone. if Plaintiff wants to come and ask around the neighborhood he is welcome to do so. if

any information surfaces l'll be sure to inform the Plaintiff and the court.

  

13305 Se mistreet
l vancouver WAMSB

619-748-8686, 360949-1016

Defendants initial Disclosures

 

Case 2:17-cv-01077-RSL Document 50 Filed 12/11/17 Page 2 of 3

llonorable Rohert S. i.aonik

UN|TED STATES DlSTRlCT COURT
WESTERN DiSTRlCT OF WASHINGTON AT SEAT¥LE

Defendant
ieren'iy Reeves

Civil Action No. 17-CV-1077RSL

Certificate of service
Defendants initial Disclosui'es

l certify that a true and correct copy of the foregoing document has been served to all counsel or partiesof `

record.
Lowe Graham Jones

701 fifth avenue, suite 4800 '
Seattle, Washington 98104

Cierk of the Court

United States District Court for the Western District of Washlngton

Defendants initial Disciosures
Civll Action No. 17~cv~1077RSL

700 Stewart Street
Seattie, WA 98101

5%%@ ”"’“7 l}%/Z;? dr

leremy times
mims zo* si.~

wheneverth
steme moments

 

 

 

Case 2:17-cv-01077-RSL Document 50 Filed 12/11/17::'133.993 0f`3~

 

_.iDOZ" Am~wv vomimmmm m_._:u WD.M.

 

  

 

.._m.i=_ momcom Dn._.:m w »mummn»v

_ ...._ l owen m@mm~vm\mmno~wmm M
»wwom mm §§ me on:mo. pm x m x » Hz as
cwzooc<mm § wmmmw

icml 4

a n_.mmxw c_"_"_om M
E¢»SZ cain 2 E%.z=cs= . w
25 m._.m£>m._ 3 _ w
m.:m 33 M_
mm>:._.m <<> 342 Ew?
M_.mm.....wv w»mimmow _ 33 , 53 _ .

 

va

     

J1 721 17091 381 uv

 

§ § §
.» @@‘cd…

comm cadc o A§ go age c co umwa NQNN ima .

/= z §

 

